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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 13-0009CCC
 1) JOSE DE LEON
 2) WILSON CONCEPCION
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on July 29, 2013 (docket
entry 40) on a Rule 11 proceeding of defendant Wilson Concepción (2) held before
U.S. Magistrate Judge Bruce J. McGiverin on July 29, 2013, to which no objection has been
filed, the same is APPROVED. Accordingly, the plea of guilty of defendant is accepted. The
Court FINDS that his plea was voluntary and intelligently entered with awareness of his
rights and the consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since July 29, 2013. The sentencing hearing is set for October 31,
2013 at 4:40 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on August 26, 2013.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
